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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 FEDERAL TRADE COMMISSION,
 STATE OF CALIFORNIA,
 STATE OF ILLINOIS,
 STATE OF MINNESOTA,
 STATE OF NEW YORK,
 STATE OF WASHINGTON                        Case No. 1:23-cv-03053
 and
 STATE OF WISCONSIN,

                          Plaintiffs,       Judge John F. Kness

                    v.

 AMGEN INC.
 and
 HORIZON THERAPEUTICS PLC,

                          Defendants.




            DEFENDANTS’ LR 56.1(a)(2) STATEMENT
       OF MATERIAL FACTS IN SUPPORT OF THEIR MOTION
 FOR SUMMARY JUDGMENT ON CERTAIN OF THEIR COUNTERCLAIMS
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        Pursuant to Local Rule 56.1(a)(2), Defendants Amgen Inc. (“Amgen”) and

Horizon Therapeutics plc (“Horizon” and, together with Amgen, “Defendants”)

respectfully submit the following statement of material facts in support of their motion

for summary judgment on certain of their counterclaims. 1

        A.     The Parties

        1.     Defendant Amgen is a corporation organized, existing and doing business

under and by virtue of the laws of the State of Delaware with its principal executive

offices located at One Amgen Center Drive, Thousand Oaks, California. (Dkt. 66,

Amend. Compl. ¶ 33.)

        2.     Defendant Horizon is a public limited company organized, existing and

doing business under and by virtue of the laws of Ireland with its principal executive

offices located at 70 St. Stephen’s Green, Dublin 2, D02 E2X4, Ireland. (Dkt. 66,

Amend. Compl. ¶ 34.)

        B.     The Transaction and “Clearance Process”

        3.     Pursuant to an agreement dated December 11, 2022, Amgen agreed to

acquire all of the issued and ordinary share capital of Horizon through a newly formed,

wholly owned subsidiary of Amgen (the “Transaction”). (Dkt. 66, Amend. Compl. ¶ 35.)

        4.     Under the Hart-Scott-Rodino Act, parties to certain large mergers and

acquisitions must file a premerger notification with both the Federal Trade Commission

(“FTC”) and the U.S. Department of Justice, Antitrust Division (the “DOJ”), but only one




    1
     The exhibits referenced herein are appended to the accompanying Declaration of David R.
Marriott in support of Defendants’ Motion for Summary Judgment on Certain of Their
Counterclaims.



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antitrust agency will review the proposed merger. (Exhibit 1, Federal Trade

Commission, Premerger Notification and the Merger Review Process, at 1.)

        5.      Upon filing of the premerger notification, staff from the FTC and DOJ

consult and the matter is “cleared” to one agency or the other for review. (Id.) This

process is known as the “clearance process.” (Id.)

        6.      The “clearance process” has no specified rules and therefore no reliably

predictable outcome. (Exhibit 2, Testimony of Abbott B. Lipsky, Jr., Committee on the

Judiciary, Subcommittee on Antitrust, Competition Policy and Consumer Rights, United

States Senate, at 4.)

        7.      The FTC and DOJ divide merger review between them pursuant to an ad

hoc agreement. (Id. at 10, quoting Financial Services and Products: The Role of the

Federal Trade Commission in Protecting Customers, Statement of Timothy J. Muris

before the U.S. Senate, Committee on Commerce, Science and Transportation,

Subcommittee on Consumer Protection, Product Safety and Insurance, Washington, D.C.,

March 17, 2010.) The flip of a coin (to resolve a dispute between the two agencies over

which agency should review the merger) could determine whether a merger survives

antitrust scrutiny. (Id.)

        8.      Review of the Transaction was assigned to the FTC instead of to the DOJ.

(Dkt. 66, Amend. Compl. at 1.)

        C.      FTC Investigation / Litigation

        9.      The FTC opened an investigation into the Transaction. (Dkt. 66, Amend.

Compl. at 1.)

        10.     As part of its investigation, the FTC:




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         •   issued Civil Investigative Demands (Decl. of D. Marriott ¶ 3);
         •   issued and received evidence from a Request for Additional Information
             and Documentary Material (“Second Request”) (Id.);
         •   met with, interviewed, and received evidence from potential witnesses
             (Id.);
         •   initiated this enforcement action and a parallel action in its administrative
             court, charging Petitioners with violating the law (Dkt. 66, Amend.
             Compl. at 1; Exhibit 3, Administrative Complaint, at 1);
         •   engaged in settlement negotiations with Petitioners (Decl. of D. Marriott ¶
             4);
         •   issued a press release about its enforcement efforts (Exhibit 4, FTC press
             release dated May 16, 2023, at 1).




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Dated: August 21, 2023

New York, New York

Respectfully submitted,


/s/ David R. Marriott                           /s/ Ethan Glass

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